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Tl'K)M¢\S M.GOULD
max MAY, et al., Ct£Ft(,U.S.?tSTRtC?M

Wft) itt t.‘§,. €-»YEWHtS

Plaintiffs,

v. No. 03-2112 Ml/P
NATIONAL BAN'K OF COMMERCElr

a banking corporation organized )

under the laws of the United )

States of America, in its )

corporate capacity and as )

Trustee of the Memphis Equipment)

Company Employee Stock )

Ownership Plan, and LAWRENCE )

SCOTT, an individual resident )

)

)

)

)

of Cordova, Shelby County,
Tennessee,

Defendants.

 

ORDER DENYING DEFENDANT LAWRENCE SCOTT’S COMBINED MOTION AND
MEMORANDUM FOR LEAVE TO FILE MOTIONS AS MOOT

 

Before the Court is Defendant Lawrence Scott's Combined
Motion and Memorandum for Leave to File Motions, filed October
28, 2004. In particular, Defendant moves the Court for: (1)
leave to file a motion to amend his answer to add the defenses of
ratification and election of remedies in relation to Plaintiff's
claims to void the sale transaction; and (2) leave to file a
motion for summary judgment relating to Plaintiffs' claims to
void the sale transaction. On November l, 2004, however, the

Court issued an Order Rescinding Transaction Ab Initio.

This document entered on the docket sheet tn compliance
with Ftu|e 58 and/or 79(3) FFtCP on " $'0

 

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Accordingly, the Court DENIES the motion as moot.

So ORDERED this iq day of July, 2005.

M m‘ O£Q~

JO P. MCCALLA
UN TED STATES DISTRICT JUDGE

   

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This notice confirms a copy cf the document docketed as number 329 in
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US DISTRICT COURT

